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AQ 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Southern District of New York

Flores etal _
Plaintiff
v.

Chowbus Inc. etal _ a
Defendant

Civil Action No. 21-cv-00970

— eee ee

WAIVER OF THE SERVICE OF SUMMONS

To: Clela Errington, Esq.

(Name of the plaintiff's attorney or unrepresented plaintiff)

ummons in this action along with a copy of the complaint,

| have received your request to waive service ofas
rning one signed copy of the form to you.

two copies of this waiver form, and a prepaid means of retu

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

defenses or objections to the lawsuit, the court’s

I understand that I, or the entity I represent, will keep all 1
5 to the absence of a summons or of service.

jurisdiction, and the venue of the action, but that I waive any objection

must file and serve an answer or a motion under Rule 12 within

| also understand that I, or the entity I represent,
as sent (or 90 days if it was sent outside the

60 days from 03/11/2021 , the date when this request w
United States). If I fail to do so, a default judgment will be entered agains

Date: 5 [ rs _—™ fo
ature of the attoFney or unrepresented party

tun Blader

  
 
  
 

 

 
 

 

Eddie Lou _

Printed name of party waiving service of summons

 

Printed name

re Mella Nove (uk WO, Urry Te 62006

* Address

Shlenber (myths. con 7

E-mail address

(2°) Crw-24o2 -

Telephone number

Duty to Avoid Unnecessary Expenses of Serving a Summons

res certain defendants to cooperate in saving unnecessary expenses of serving a summons
es and who fails to return a signed waiver of service requested by a plaintiff located in
unless the defendant shows good cause for the failure.

Rule 4 of the Federal Rules of Civil Procedure requi
and compat A defendant who is located in the United Stat
ie United States will be required to pay the expenses of service,

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has

no jurisdicti . . 5

Jurisdiction over this matter or over the defendant or the defendant's property.

asu If the waiver is signed and returned, you can still] make these and all other defenses and objections, but you cannot object to the absence of
mmons or of service. : —

rve an answer ora motion under Rule 12 on the plaintiff

Ifyou waive servi es : : ;
you waive service, then you must, within the time specified on the waiver form, se
an if a summons had been served.

and file a copy wi
wi ete ; fn ;
Py with the court, By signing and returning the waiver form, you are allowed more time to respond th

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